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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

DR. SAAD ALJABRI,                               )
                                                )
                 Plaintiff                      )
                                                )
        v.                                      )        Civil Action No. 1:20-cv-02146-TJK
                                                )
MOHAMMED BIN SALMAN BIN                         )
ABDULAZIZ AL SAUD, et al.,                      )
                                                )
                 Defendants.                    )
                                                )



                 MOTION OF MESSRS. ALQAHTANI, ALASSIRI, ALSALEH,
                  ALSAYED, ALGASEM, ALHAQBANI, AND ALHOMID
                           TO DISMISS THE COMPLAINT

        Saud Alqahtani, Ahmed Alassiri, Mishal Fahad Alsayed, Khalid Ibrahim Abdulaziz Algasem,

Saud Abdulaziz Alsaleh, Bandar Saeed Alhaqbani, and Ibrahim Hamad Abdulrahman Alhomid, (for

purposes of this Motion, the “Defendants,”) by and through undersigned counsel, hereby move this

Court for an Order dismissing the Complaint in its entirety under Federal Rule of Civil Procedure

12(b)(2) for lack of personal jurisdiction, under Rule 12(b)(1) for lack of subject matter jurisdiction,

under Rule 12(b)(7) for failure to join an essential party, and under Rule 12(b)(6) for failure to state a

claim. The grounds for this Motion are set forth in the accompanying Memorandum in Support of

the Defendants’ Motion to Dismiss.
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                            Respectfully Submitted,



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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

DR. SAAD ALJABRI,                     )
                                      )
              Plaintiff               )
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     v.                               )    Civil Action No. 1:20-cv-02146-TJK
                                      )
MOHAMMED BIN SALMAN BIN               )
ABDULAZIZ AL SAUD, et al.,            )
                                      )
              Defendants.             )
                                      )


                  MEMORANDUM IN SUPPORT OF MOTION OF
                   MESSRS. ALQAHTANI, ALASSIRI, ALSALEH,
                ALSAYED, ALGASEM, ALHAQBANI, AND ALHOMID
                         TO DISMISS THE COMPLAINT
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        The Complaint reads like a novel, and not a realistic work of fiction at that. The plaintiff, Dr.

Saad Aljabri, does not and cannot allege facts to support the fantastic claims he makes against Saud

Alqahtani, Ahmed Alassiri, Mishal Fahad Alsayed, Khalid Ibrahim Abdulaziz Algasem, Saud

Abdulaziz Alsaleh, Bandar Saeed Alhaqbani, or Ibrahim Hamad Abdulrahman Alhomid (for purposes

of this Motion, the “Defendants”). The Complaint posits a plot by the Defendants, Saudi citizens, to

kill Aljabri in Canada. None of the Defendants were aware of, much less participated in, any such

scheme. The Complaint, in any event, must be dismissed on a number of legal grounds. As an initial

matter, the Complaint fails to come close to alleging that the Defendants had sufficient contacts with

the United States related to the purported plot to give this Court personal jurisdiction over them. In

addition to lacking personal jurisdiction over the Defendants, the Court lacks subject matter

jurisdiction over the claims asserted. Further, the claims are barred by the Act of State Doctrine and

the Complaint fails to join a necessary party. Finally, the Complaint fails to state a claim. For each of

these reasons, the Complaint should be dismissed.

                                          BACKGROUND

        The Defendants incorporate and adopt by reference the Introduction and Summary of

Allegations and Materials Cited in the Complaint in the Motion to Dismiss filed by His Royal Highness

Mohammed bin Salman bin Abdulaziz Al Saud, the Crown Prince of the Kingdom of Saudi Arabia

(“the Crown Prince”). See Defendant Mohammed bin Salman bin Abdulaziz Al Saud’s Motion to Dismiss

(“Crown Prince Mot. to Dismiss”) pp. 1-11.

        Aljabri’s complaint contains numerous factual allegations unrelated to the causes of actions he

asserts. For example, the Complaint contains repeated references to Jamal Khashoggi, allegations

that, while salacious (and based on media reports, rather than any purported first-hand knowledge),

are wholly unrelated to any of the three causes of actions asserted against the Defendants, each of

which is premised on a supposed plot to assassinate Aljabri in Canada in October 2018. Count One



                                                   1
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claims that supposed Defendants “personally committed, conspired with, or aided and abetted the

commission of the attempted extrajudicial killing” (Compl. at ¶ 259) of Aljabri in Canada, in violation

of the Torture Victim Protection Act (TPVA); Count Two claims that the same alleged attempted

extrajudicial killing violated the Law of Nations under the Alien Tort Statute (ATS); and Count Three

claims that the same alleged attempted extrajudicial killing of Aljabri constituted the intentional

infliction of emotional distress (IIED). The Complaint asserts that the Court has personal jurisdiction

over the Defendants for the first two causes of action “pursuant to Federal Rule of Civil Procedure

4(k)(2) because these Defendants engaged in intentional, tortious conduct directed at the United

States, and this action arises out of that conduct,” and over the third cause of action because it arises

out of a common nucleus of facts as the first two. See Compl. at ¶86; 92.1

        The following summarizes the Complaint’s factual allegations against each of the seven

Defendants as they relate to these three causes of action.

Saud Alqahtani

        Saud Alqahtani is alleged to be a Saudi national who is characterized as a former top aide to

the Crown Prince. He is alleged to have been a director and supervisor of the so-called “Tiger Squad.”

Without providing any specific factual allegations, the Complaint alleges in conclusory fashion, based

on “information and belief,” that Mr. Alqahtani planned, oversaw, and coordinated a mission to kill

Aljabri in Canada, “dispatched” the “Tiger Squad” to Canada for this purpose, and “possessed and




1
  As discussed in the Crown Prince’s Motion to Dismiss, p.1, Aljabri is being prosecuted in Saudi
Arabia for participating in a massive scheme to misuse or steal billions of dollars of Saudi funds. Adult
children of Aljabri have been arrested in Saudi Arabia for their complicity in this scheme. To the
extent Aljabri’s IIED claim is based in part on the arrest of his children, the Complaint does not allege
that the Defendants were involved in any way in the arrest of his children.


                                                   2
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exercised command and operational control over the Tiger Squad Defendants in connection with the

attempted extrajudicial killing of Dr. Saad.” See id. at ¶¶44-50; 249.2

        The Complaint alleges no contacts of Mr. Alqahtani with the United States related to the

alleged plot to kill Aljabri. The only contacts of Alqahtani with the United States alleged in the

Complaint are that “Defendant Alqahtani served as a member of the board of directors of the MiSK

Foundation” (id. at ¶ 47) and that he “engaged several Washington, D.C.-based public relations firms

in connection with lobbying activities in the United States” in 2016, (id. at ¶ 49), two years before the

alleged plot to kill Aljabri in Canada. There are no factual allegations connecting Mr. Alqahtani’s

membership on the board of the MiSK Foundation or his retention of lobbying firms to his purported

involvement in an attempted extrajudicial killing.

        While the Complaint alleges in conclusory fashion that Mr. Alqahtani “coordinated the

tracking of Dr. Saad in the United States” (id. at ¶ 245), the Complaint’s allegations related to supposed

efforts to “recruit” people to “track” or “hunt” for Aljabri in the United States do not even mention

Mr. Alqahtani. See id. at ¶ 14 (“Acting through his personal charitable foundation, Defendant Prince

Mohammed Bin Salman bin Abdulaziz Foundation (also known as the “MiSK Foundation”) and Defendant

Bader Alasaker (“Defendant Alasaker”), Defendant bin Salman recruited and deployed a network of Saudi




2
  The Complaint also alleges that Mr. Alqahtani Tweeted, “Do you think I’m acting on my own whim?
I am a civil servant and a faithful executioner of the orders of the King and the Crown Prince.” Id. at
¶ 48. The Complaint implies that this tweet pertains to the alleged attempted extrajudicial killing of
Aljabri only through supposition, using the word “presumably.” See id at ¶48 (“Defendant Alqahtani
published a tweet stating explicitly that all of his actions and activities—presumably including
extrajudicial killing—are carried out at the direction of Defendant bin Salman.”). The Complaint fails
to provide a date or context with respect to this alleged tweet, but it cites an article dated October 23,
2018 that states that the tweet was “last summer” – well before the alleged plot to kill Aljabri in
Canada. See id. at n.16 (citing https://www.reuters.com/article/us-saudi-khashoggi-adviser-
insight/how-the-man-behind-khashoggi-murder-ran-the-killing-via-skype-idUSKCN1MW2HA).
The Complaint, therefore, does not allege facts, that, if true, would plausibly establish any connection
between the tweet by Mr. Alqahtani and an attempted plot kill Aljabri.


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agents living in the United States (the “U.S.-Based Covert Agent Defendants”) who used covert and

deceptive means to hunt Dr. Saad and his family in Boston, Massachusetts . . . .”) (emphasis added);

id. at ¶ 59 (“Acting at the direction of Defendant bin Salman and relying largely on Defendant MiSK

Foundation as a front, Defendant Alasaker recruited and organized a network of agents in the United

States and deployed these individuals (the “U.S.-Based Covert Agent Defendants”), identified in the

paragraphs that immediately follow, to hunt down and locate Dr. Saad and his family—ultimately in

furtherance of his extrajudicial killing—in and around September 2017.”) (emphasis added).

Ahmed Alassiri

        Ahmed Alassiri is alleged to be a Saudi national who was Deputy Intelligence Chief for Saudi

Arabia’s principal intelligence agency. Id. at ¶51. The Complaint alleges, “On information and belief,

Defendant Alassiri played a supervisory role in the attempted extrajudicial killing of Dr. Saad and was

involved in overseeing the members of the Tiger Squad who traveled to Canada to kill Dr. Saad.” Id.

at ¶52. Again, with no specific factual allegations, the Complaint alleges Mr. Alassiri planned, oversaw,

and coordinated the supposed mission to kill Aljabri in Canada. Id. at 245, 249, 251. He also allegedly

“dispatched” the Tiger Squad to Canada. Id. at ¶225.

        The Complaint alleges no contacts of Mr. Alassiri with the United States related to the alleged

plot to kill Aljabri. While, as with Mr. Alqahtani, the Complaint alleges in conclusory fashion that Mr.

Alassiri “coordinated the tracking of Dr. Saad in the United States” (id. at ¶ 245), as quoted above, the

Complaint’s only allegations in that regard fail to mention Mr. Alassiri. The Complaint makes no

other factual allegations of contacts by Mr. Alassiri with the United States.

Mishal Fahad Alsayed

        Mishal Alsayed is alleged to be a Saudi national and forensic DNA expert who worked for the

General Department of Criminal Evidence in the Ministry of Interior and holds the rank of lieutenant




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colonel. The Complaint alleges the conclusion, with no supporting factual allegations, that he was a

member of the “Tiger Squad” who traveled to Canada for the purpose of killing Aljabri. Id. at ¶77.

          The Complaint alleges no contacts of Mr. Alsayed with the United States related to the alleged

plot to murder Aljabri. Indeed, the Complaint makes no allegations whatsoever, not even conclusory

allegations, of any contacts by Mr. Alsayed with the United States.

Khalid Ibrahim Abdulaziz Algasem

          Khalid Algasem is alleged to be a Saudi national and forensic DNA expert who works for the

General Department of Criminal Evidence in the Ministry of Interior. The Complaint alleges the

conclusion, with no supporting factual allegations, that he was a member of the “Tiger Squad” who

traveled to Canada for the purpose of killing Aljabri. Id. at ¶78. As with Mr. Alsayed, the Complaint

makes no allegations, not even conclusory allegations, of any contacts by Mr. Algasem with the United

States.

Saud Abdulaziz Alsaleh

          Saud Alsaleh is alleged to be a Saudi national and military intelligence officer in the Intelligence

Department of the Ministry of Defense. The Complaint makes the conclusory allegation that Mr.

Alsaleh is allegedly a coordinator or leader of the “Tiger Squad” and that he “took actions for the

purpose of extrajudicially killing Dr. Saad.” Id. at ¶79. The Complaint makes no factual allegations as

to what actions Mr. Alsaleh purportedly took with respect to the supposed plot to kill Aljabri. As with

Messrs. Alsayed and Algasem, the Complaint makes no allegations, not even conclusory allegations,

of any contacts by Mr. Alsaleh with the United States.3




3
  The Complaint also alleges that “Defendant Alsaleh attended a program for ‘senior military officers’
in the Asia-Pacific region hosted by the Nanyang Technical University in Singapore” in 2019 (id. at
¶79 n. 41), without alleging any relationship at all between his participation in this program in
Singapore and the alleged plot to kill Aljabri in Canada a year earlier.


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Bandar Saeed Alhaqbani

        Bandar Alhaqbani is alleged to be a Saudi national employed by the Ministry of Interior in

Saudi Arabia. The Complaint alleges the conclusion, with no supporting factual allegations, that he

was a member of the “Tiger Squad” who traveled to Canada for the purpose of killing Aljabri. Id. at

¶80. As with Messrs. Alsayed, Algasem, and Alsaleh, the Complaint makes no allegations, not even

conclusory allegations, of any contacts by Mr. Alhaqbani with the United States.

Ibrahim Hamad Abdulrahman Alhomid

        Ibrahim Hamad Alhomid is alleged to be a Saudi national employed by the Ministry of Foreign

Affairs in Saudi Arabia. The Complaint alleges he holds a diplomatic passport as a diplomatic official

for Saudi Arabia. Id. at ¶232. The Complaint further alleges the conclusion, with no supporting factual

allegations, that he was a member of the “Tiger Squad” who traveled to Canada for the purpose of

killing Aljabri. Id. at ¶81. The Complaint alleges he was permitted to enter Canada with his diplomatic

passport. Id.. ¶232. It does not allege that, upon entry into Canada, Mr. Alhomid attempted to kill

Aljabri or took any action to further an alleged plot to kill Aljabri.

        The Complaint alleges no contacts of Mr. Alhomid with the United States other than that, at

some unspecified point in time, he entered the United States using his diplomatic passport and visited

the United Nations Security Council. Id. at ¶ 232. The Complaint does not allege any relationship at

all between this visit and a supposed plot to kill Aljabri.

                                             ARGUMENT

I.      This Court lacks personal jurisdiction over Messrs. Alqahtani, Alassiri, Alsayed,
        Algasam, Alsaleh, Alhaqbani, and Alhomid (“the Defendants”).

        The Defendants incorporate and adopt by reference the legal standard and arguments that this

Court lacks personal jurisdiction over the Defendants set forth in the Crown Prince’s Motion to

Dismiss, pp. 11-24.




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        As this Court has held: “To establish jurisdiction, a plaintiff must “allege specific acts

connecting [the] defendant with the forum and may not rely on bare allegations or conclusory

statements.” Corsi v. Caputo, 2020 WL 1703934, at *2 (D.D.C. Apr. 7, 2020) (Kelly, J.); see also Nat’l

Resident Matching Program v. Elec. Residency LLC, 720 F. Supp. 2d 92, 99 (D.D.C. 2010) (“vague and

conclusory allegations do not suffice to demonstrate that a defendant is subject to personal jurisdiction

in a particular forum.”) (citing Agee v. Sebelius, 668 F. Supp. 2d 1, 5-6 (D.D.C. 2009)); Atlantigas Corp.

v. Nisource, Inc., 290 F. Supp. 2d 34, 44-46 (D.D.C. 2003) (same); see also Gregory v. Mihaylov, No. 1:12-

CV-2266-TWT, 2013 U.S. Dist. LEXIS 1251, at *13-14 (N.D. Ga. Jan. 4, 2013)(“The Court will not

credit conclusory allegations in determining whether the Plaintiff has established personal jurisdiction

over the [] Defendants.”)(citing Snow v. DirecTV, 450 F.3d 1314, 1318 (11th Cir. 2006) (rejecting

conclusory allegations in personal jurisdiction inquiry)); Indem. Ins. Co. of N. Am. v. K-Line Am., Inc.,

2007 U.S. Dist. LEXIS 43567, at *13 (S.D.N.Y. June 13, 2007)(“Mere conclusory allegations are

insufficient to support a prima facie showing of personal jurisdiction.”) (citing Jazini by Jazini v. Nissan

Motor Co., 148 F.3d 181, 185 (2d Cir. 1998)); Global View Ltd. Venture Capital v. Great Central Basin

Exploration L.L.C., 288 F. Supp. 2d 482, 484 (S.D.N.Y. 2003)).4

        In order to survive a motion to dismiss, therefore, a complaint must make specific factual

allegations that, if true, would plausibly establish that the court has either general jurisdiction over the

defendant or specific personal jurisdiction over the defendant. General jurisdiction exists only when



4
  Indeed, conclusory allegations do not even suffice to entitle the plaintiff to take discovery in an
effort to establish personal jurisdiction. See Unspam Techs., Inc. v. Chernuk, 716 F.3d 322, 330 n.1 (4th
Cir. 2013) (suggesting that the court did not abuse its discretion in denying jurisdictional discovery
based on conclusory allegations of personal jurisdiction); Carefirst of Md., Inc. v. Carefirst Pregnancy Ctrs.,
Inc., 334 F.3d 390, 403 (4th Cir. 2003) (“where a plaintiff's claim of personal jurisdiction appears to be
both attenuated and based on bare allegations in the face of specific denials made by defendants, the
court need not permit even limited discovery confined to issues of personal jurisdiction should it
conclude that such discovery will be a fishing expedition.”)(citation omitted); ALS Scan, Inc. v. Dig.
Serv. Consultants, Inc., 293 F.3d 707, 716 n.3 (4th Cir. 2002) (affirming district court's denial of plaintiff’s
request to engage in jurisdictional discovery based on “conclusory assertions”).


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the defendant has had such continuous and systematic contacts with the jurisdiction that the court

can exercise jurisdiction even in the absence of allegations that the defendant’s contacts with the

jurisdiction relate to the subject matter of the suit. Specific jurisdiction exists only when the cause of

action arises from or relates to the defendant’s contacts with the jurisdiction. Here, the Complaint

fails to make specific factual allegations that could plausibly establish either general or specific personal

jurisdiction with respect to the Defendants.

                A.       The Complaint fails adequately to allege general jurisdiction over the Defendants.

        As set forth above, each of the Defendants is a Saudi national residing in Saudi Arabia who is

alleged either to have extremely limited contacts with the United States or none whatsoever. None

has “affiliations” with the forum jurisdiction that “are so ‘continuous and systematic’ as to render [it]

essentially at home in the forum.” Daimler AG v. Bauman, 571 U.S. 117, 138-39 (2014) (quoting

Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011)) (alteration in Bauman). Indeed,

while the Complaint in conclusory fashion alleges that this Court has specific personal jurisdiction

over the Defendants (Compl. at ¶86), it does not even purport to allege general personal jurisdiction

over them.

                B.       The Complaint fails adequately to allege specific personal jurisdiction over the Defendants.

        The Complaint fails to allege facts that, if true, would plausibly establish the “the defendant’s

suit-related conduct . . . create[s] a substantial connection with the forum.” See Walden v. Fiore, 571

U.S. 277, 284 (2014).

                         1.       The Court lacks personal jurisdiction over Messrs. Alqahtani and
                                  Alassiri.

        Messrs. Alqahtani and Alassiri are each alleged to be a Saudi national and employee or official

of the Saudi government who, the Complaint alleges in conclusory fashion, supervised the “Tiger

Squad,” which was allegedly comprised of other Saudi nationals who were sent from Saudi Arabia to

Canada in October 2018 in an attempt to kill Aljabri in Canada. A “bare allegation” that members of


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the “Tiger Squad” were agents of Messrs. Alqahtani and Alassiri would be “insufficient to establish

personal jurisdiction,” even if the alleged members of the “Tiger Squad” engaged in tortious conduct

directed at the United States. See Khatib v. All. Bankshares Corp., 846 F. Supp. 2d 18, 33 (D.D.C. 2012)(a

“bare allegation of . . . agency is insufficient to establish personal jurisdiction.”) (quoting First Chicago

Int’l v. United Exch. Co., Ltd., 836 F.2d 1375, 1378-79 (D.C. Cir. 1988); see also Ashcroft v. Iqbal, 556 U.S.

662, 679 (2009) (conclusory allegations are “not entitled to the assumption of truth.”). Even if these

conclusory allegations were sufficient, however, what the Complaint would allege would be a plan to

kill Aljabri to be carried out in Canada, not the United States.

        The Complaint makes the allegation that Messrs. Alqahtani and Alassiri allegedly conspired

with, and aided and abetted, U.S.-based “covert agents” over whom they had authority and control.

¶240-41. This allegation is likewise entirely conclusory. The Complaint fails to set forth a single

factual allegation regarding what actions were supposedly performed by Alqahtani or Alassiri with

respect to any U.S.-based covert agents or how those actions related to a plot to kill Aljabri in Canada.

        Instead, Mr. Alqahtani is alleged to be a board member of Defendant the MiSK Foundation,

which the Complaint alleges, again in conclusory fashion, was used by Defendants bin Salman and

Alasaker to recruit the “covert agents” in the United States to hunt Aljabri in the United States.

Complaint at ¶47. There is no even conclusory allegation that Mr. Alqahtani, as a board member of

the MiSK Foundation, or Mr. Alassiri, who is not alleged to have been a board member, used the

Foundation to recruit “covert agents” in the United States to hunt for Aljabri. This conclusory

description of others’ alleged conduct in the United States – even if the defendants had knowledge of

it, which they did not – cannot form the basis for jurisdiction for Mr. Alqahanti or Mr. Alassiri. See

Walden, 571 U.S. at 284 (the focus of jurisdiction is “contacts that the ‘defendant himself’ creates with

the forum”; a defendant’s “knowledge” of someone else’s “strong forum connections” does not create

personal jurisdiction); see also Nuevos Destinos, LLC v. Peck, 2019 WL 78780, at *8 (D.D.C. Jan. 2, 2019)


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(“[T]he Court cannot assert jurisdiction over individual defendants based on another defendant’s

actions.”); Duarte v. Nolan, 190 F. Supp. 3d 8, 11 (D.D.C. 2016) (quoting Atlantigas Corp. v. Nisource,

Inc., 290 F. Supp. 2d 34, 42 (D.D.C. 2003) (“a plaintiff ‘cannot aggregate factual allegations concerning

multiple defendants in order to demonstrate personal jurisdiction over any individual defendant.”).5

        Not only does the Complaint fail to allege any connection between Messrs. Alqahtani or

Alassiri individually with the United States, it also fails to allege that they have a connection to the

United States vicariously based on the conduct of others. The Complaint seems to attempt to proceed

on such a theory by including allegations regarding supposed “covert agents” in the United States and

suggesting that these “covert agents” were either agents of Messrs. Alqahtani and Alassiri or that

Messrs. Alqahtani and Alassiri conspired with them.

        The Complaint fails to allege any specific facts that, if true, would plausibly establish an agency

relationship between Alqahtani or Alassiri and “covert agents” in the United States. “[A]n agency

relationship arises only where the principal ‘has the right to control the conduct of the agent with

respect to matters entrusted to him.’ ” Carswell v. Air Line Pilots Ass’n Int’l, 540 F.Supp.2d 107, 122

(D.D.C.2008) (quoting Restatement (Second) of Agency § 14 (1958)); see also Restatement (Third) of

Agency § 1.01 (2006) (an agency relationship is the “fiduciary relationship that arises when [a principal]

manifests assent to [an agent] that the agent shall act on the principal's behalf and subject to the

principal's control”). Aljabri does not allege facts that could plausibly establish that Messrs. Alqahtani

or Alassiri manifested assent to have “covert agents” in the United States act on their behalf.




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   In any event, the allegations about covert agents hunting for Aljabri in the United States are
ultimately of no moment for purposes of personal jurisdiction, since the Complaint alleges Aljabri was
found in Canada independent of these efforts, resulting in the plot to kill Aljabri in Canada, the plot
on which each cause of action is based. Compl. at ¶220. The Defendants adopt and incorporate by
reference the arguments of the Crown Prince in this regard. See Crown Prince Mot. to Dismiss, pp.
17-18.


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        To the extent Aljabri attempts to rely on conspiracy jurisdiction, – already a dubious legal

concept – see Ofisi v. BNP Paribas, S.A., 2018 WL 396234, at *5 (D.D.C. Jan. 11, 2018) (“[a]s far as the

Court is aware, no court to have considered the question has permitted the assertion of conspiracy

jurisdiction under Rule 4(k)(2).”) – Aljabri fails plausibly to allege any agreement with any defendant

in the United States. The Complaint makes no factual allegations that Messrs. Alassiri or Alqahtani

had knowledge of any defendant’s actions in the United States allegedly attempting to locate Aljabri

two years prior to Messrs. Algasam, Alsayed, Alhaqbani, and Alhomid traveling to Canada for the

purported purpose of killing Aljabri in Canada. As a result, the Complaint’s conclusory conspiracy

theory contains multiple shortcomings and wholly fails to establish jurisdiction. See Cockrum v. Donald

J. Trump for President, Inc., 319 F. Supp. 3d 158 (D.D.C. 2018)(“Adopting the approach taken by Judge

Mehta [in EIG Energy Fund XIV, L.P. v. Petroleo Brasileiro S.A.], this Court concludes that if any

conspiratorial jurisdiction survives Walden [v. Fiore, 571 US 277 (2014)] , a plaintiff pursuing such a

theory must allege that the defendant knew of the co-conspirator’s acts in the forum. Furthermore, at

the very least, a plaintiff needs to meet the Circuit’s strict particularity requirement to comport with

due process.”).

        Finally, the Complaint alleges that the ultimate objective of Messrs. Alqahtani and Alassiri was

to “limit the U.S. government’s access to a key partner with unique knowledge.” Id. at ¶18. Not only

does this conclusory allegation fail to establish personal jurisdiction as the Crown Prince discusses in

his Motion to Dismiss, pp. 18-20, which the Defendants adopt and incorporate by reference, but also

the online articles cited by Aljabri do not support the allegation that Messrs. Alqahtani and Alassiri

had such an objective, or for that matter any objective, pertaining to Aljabri. See Compl. at n. 44, 46,

64, 4 (citing Frank Gardner, Family of Exiled Top Saudi Officer Saad Al-Jabri ‘Targeted’, BBC, May 25,

2020, https://www.bbc.com/news/world-middle-east-52790864)(“But former Western intelligence

officials believe MBS still sees [Aljabri] as a threat to his legitimacy.”) (emphasis added); Bradley Hope,



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Justin Scheck & Warren P. Strobel, Saudi Arabia Wants its Fugitive Spymaster Back, Wall St. J., July 17,

2020,      https://www.wsj.com/articles/a-spymaster-ran-off-after-saudis-say-billions-went-missing-

they-want-him-back-11595004443 (“His family argues that the Saudi government wants him back

because he knows the secrets of the royal family, and that Crown Prince Mohammed bin Salman has a

personal vendetta against him because of a disagreement over the country’s Yemen policy and other

disputes”) (emphasis added); Peter Bergen, Trump’s Uncritical Embrace of MBS Set the Stage for Khashoggi

Crisis, CNN, Nov. 16, 2018, https://www.cnn.com/2018/10/15/opinions/how-the-saudis-played-

trump-bergen/index.html; Addiction and Intrigue: Inside the Saudi Palace Coup, Reuters, July 19,

2017,      https://www.reuters.com/article/us-saudi-palace-coup/addiction-and-intrigue-inside-the-

saudi-palace-coup-idUSKBN1A41IS (“After removing his cousin as Crown Prince and making

himself the heir apparent, MBS also set out to remove all other possible challenges to his total grip on

power using a Stalinist playbook, minus the gulags.”) (emphasis added); David Ignatius, This Former

Intelligence Official Was a Hero. He’s Now the Target of a Brutal Campaign by MBS, Wash. Post, May 28, 2020,

https://www.washingtonpost.com/opinions/2020/05/28/this-former-intelligence-official-was-

hero-hes-now-target-brutal-campaign-by-mbs/ (“What was discussed at those meetings isn’t known,

but MBS evidently thought Aljabri was plotting behind his back on behalf of his rival, MBN.”)

(emphasis added).

        Aljabri seeks to impute the Crown Prince’s purported motivations to each of the Defendants

without any factual allegations to support doing so. See Compl. ¶ 89. The Complaint alleges that

“each Defendant” was “aware of” or ‘knew” what Defendant bin Salman “viewed” or “desire[d]”

concerning Aljabri. Id. But Aljabri fails to plead any facts on which to base the conclusion that the

Defendants were aware of the Crown Prince’s supposed motivations, much less that each acted with

the same supposed intent as the Crown Prince. See Nuevos Destinos, 2019 WL 78780, at *8 (finding no




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personal jurisdiction where “the thrust of [plaintiffs’] argument is that the nine defendants are subject

to the jurisdiction of this Court based on other defendants’ actions”).

        Further, even if the assertion that Messrs. Alqahtani and Alassiri had an objective of limiting

the access of the United States government to Aljabri were pled with more than a contradicted

conclusory claim, an objective by people outside of the United States to take tortious action outside

of the United Sates against a person located outside the United States cannot establish personal

jurisdiction in this Court. Indeed, even if Aljabri were a United States citizen, rather than merely an

alleged foreign intelligence source of the United States, an effort to silence him by taking action against

him outside the United States would not result in personal jurisdiction in the United States. See Price

v. Socialist People’s Libyan Arab Jamahiriya, 294 F.3d 82, 95 (D.C. Cir. 2002) (“tortur[ing] two American

citizens in Libya’ would be ‘insufficient to satisfy the usual ‘minimum contacts’ requirement’ for

personal jurisdiction”); see also Doe v. Buratai, 318 F. Supp. 3d 218, 228 (D.D.C. 2018) (“acts of terror

or torture committed against American citizens abroad, standing alone, can support personal jurisdiction

only if the defendant expressly intended the effects of the act to be felt in the United States”) (citing

Nikbin, 471 F. Supp. 2d at 73; Manouchehr Mohammadi v. Islamic Republic of Iran, 947 F. Supp. 2d 48, 73

n.26 (D.D.C. 2013)), aff’d, No. 18-7170, 2019 WL 668339 (D.C. Cir. Feb. 15, 2019) (per curiam), and

aff’d sub nom. Doe v. Buratai, 792 F. App’x 6 (D.C. Cir. 2019) (per curiam).




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                        2.      The Court lacks personal jurisdiction over Messrs. Alsayed, Algasam,
                                Alhaqbani, and Alhomid.

        Messrs. Alsayed, Algasam, Alhaqbani, and Alhomid are all Saudi nationals living in Saudi

Arabia who the Complaint alleges to be members of the “Tiger Squad” who traveled to Canada in

October 2018 on orders from the Crown Prince of Saudi Arabia for the supposed purpose of killing

Aljabri in Canada. See Compl. ¶¶72-78, 80-81. These conclusory allegations fail to allege contacts by

Messrs. Alsayed, Algasam, Alhaqbani, and Alhomid with the United States that would give rise to

personal jurisdiction over them in this Court. See e.g. Manouchehr Mohammadi, 947 F. Supp. 2d at 73,

n.26 (dismissing for lack of subject matter jurisdiction, but noting that there is a “serious question” as

to whether the Court has personal jurisdiction over any of the defendants in an action brought by and

on behalf of four former Iranian nationals who were imprisoned, tortured, and/or killed in a Tehran

prison against the Islamic Republic of Iran, Ayatollah Sayid Ali Hoseyni Khamenei, President

Mahmoud Ahmadinejad, and the Army of the Guardians of the Islamic Revolution, because the

plaintiffs had not established that Khamenei and Ahmadinejad have had “minimum contacts” with

the United States or have “purposefully directed” their activities here).

        The Complaint does not allege, even in conclusory fashion, that Messrs. Alsayed, Algasam,

Alhaqbani, or Alhomid had any relationship whatsoever with the “U.S.-based agents.” Nor does the

Complaint allege any other connection to the United States, much less a connection related to the

causes of action the Complaint advances against them.

                        3.      The Court lacks personal jurisdiction over Mr. Alsaleh.

        Mr. Alsaleh, a Saudi national and military intelligence officer in the Intelligence Department

of the Saudi Ministry of Defense, is not alleged to have any connection at all with any place outside

Saudi Arabia, other than having attended a conference in Singapore. The Complaint alleges he was a

member and “coordinator or leader” of the “Tiger Squad.” See Compl. at ¶79. Yet, the Complaint

does not allege any facts that, if true, would plausibly support the notion that Mr. Alsaleh was a


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“coordinator or leader” of the “Tiger Squad,” much less that he traveled to Canada or took any actions

whatsoever related to, or even knew anything about, an alleged plot to kill Aljabri. The Complaint

does not, even in conclusory fashion, allege any connection at all between Mr. Alsaleh and the United

States, much less contacts with the United States relevant to the causes of action set forth in the

Complaint.

                C.       Asserting jurisdiction over the Defendants would offend notions of fair play
                         and substantial justice.

        The Defendants incorporate and adopt by reference the legal standard and arguments set forth

in the Crown Prince’s Motion to Dismiss that asserting jurisdiction over any them would offend

notions of fair play and substantial justice. See Crown Prince Mot. to Dismiss, pp. 21-23. The

Defendants are all citizens and residents of the Kingdom of Saudi Arabia with no ties to the United

States. The burden on them would be severe if they were required to “submit its dispute to a foreign

nation’s judicial system.” See Asahi Metal Indus. Co. v. Superior Ct. of Cal., 480 U.S. 102, 114 (1987) (“The

unique burdens placed upon one who must defend oneself in a foreign legal system should have

significant weight in assessing the reasonableness of stretching the long arm of personal jurisdiction

over national borders.”). Additionally, the forum Aljabri selected – the United States – has minimal

interest in this litigation. As the Crown Prince explains, the allegations in the Complaint stem from

an internal dispute among high-ranking members of the Saudi Arabian government and involves

alleged official action of the Saudi government. See Crown Prince’s Mot. to Dismiss, pp. 1-2, 33-34.

Aljabri has no special interest in seeking relief in the United States. He is not a U.S. citizen, does not

reside in the United States, and alleges conduct outside of the United States in an attempt to kill him

outside of the United States. Aljabri has failed to allege any facts that, if true, would plausibly establish

the United States would be a convenient forum in which to litigate his claims. For the reasons the

Crown Prince sets forth in his Motion to Dismiss, pp. 21-23, both Canada, where Aljabri currently




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resides, and Saudi Arabia, where he is a citizen, have a stronger connection to this suit than the United

States, yet he has not pursued his claims in either forum.

II.     The Court lacks subject matter jurisdiction because the Defendants are immune from
        suit.

        Defendants incorporate, and adopt by reference, the legal standards and arguments presented

in the Crown Prince’s Motion to Dismiss, pp. 24-48.

        An official or employee of a foreign sovereign government may assert immunity for acts

performed within the scope of his official duty. “It is ‘well-settled law that contractors and common

law agents [of a foreign sovereign] acting within the scope of their employment . . . have derivative

sovereign immunity.’” Moriah v. Bank of China, Ltd., 107 F. Supp. 3d 272, 277 (S.D.N.Y. 2015)(citations

omitted). This immunity is conduct-based. “Therefore, to determine the scope of a foreign official’s

immunity, the relevant inquiry focuses on the official’s acts, and not the official’s status.” Id.; see also

Hazel Fox, The Law of State Immunity at 455 (2d. ed. 2008) (“The doctrine of the imputability of the

acts of the individual to the State ... in classical law... imputes the act solely to the state, who alone is

responsible for its consequence. [Therefore,] any act performed by the individual as an act of the

State enjoys the immunity which the State enjoys.”).

        Even alleged violations of jus cogens does not usurp sovereign immunity. See Miango v. Democratic

Republic of Congo, Civil Action No. 15-1265 (ABJ), 2020 U.S. Dist. LEXIS 113722 (D.D.C. June 29,

2020) (dismissing claims against the former President of the Democratic Republic of the Congo and

five others who were alleged to have been members of the former president’s entourage who allegedly

assaulted the plaintiffs when they protested across the street from the hotel in Washington, D.C. where

former president’s delegation was staying.); Doe v. Buratai, 318 F. Supp. 3d at 236 (“[T]he Court—

following courts in this circuit and other circuits—declines to adopt and apply a jus cogens

exception.”); Giraldo v. Drummond Co., 808 F. Supp. 2d 247, 251 (D.D.C. 2011) (“[P]laintiffs’ allegations

of jus cogens violations do not defeat former President Uribe’s immunity.”), aff’d, 493 F. App’x 106


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(D.C. Cir. 2012) (per curiam); see also Doğan v. Barak, 932 F.3d 888, 896-97 (9th Cir. 2019) (declining

to recognize an exception from official immunity for jus cogens violations); Matar v. Dichter, 563 F.3d 9,

15 (2d Cir. 2009) (“A claim premised on the violation of jus cogens does not withstand foreign

sovereign immunity.”); Burma Task Force v. Sein, 2016 U.S. Dist. LEXIS 42326, at *6-*7 (S.D.N.Y. Mar.

30, 2016) (dismissing TVPA claims against the Foreign Minister of Myanmar based on alleged acts of

genocide, torture, and arbitrary detention of plaintiffs (citing American Justice Center et al. v. Modi, 2015

U.S. Dist. LEXIS 177427 (S.D.N.Y. Jan. 14, 2015); Tawfik v. al-Sabah, 2012 U.S. Dist. LEXIS 115946

(S.D.N.Y. Aug. 16, 2012)).

        In determining the applicability of conduct-based immunity, courts generally either apply the

criteria recognized by “the established policy of the State Department” or the test outlined in §66(f)

of the Restatement (Second) of Foreign Relations Law of the United States (1965)(“Restatement

(Second)”). See Broidy Capital Mgmt. LLC v. Muzin, 2020 WL 1536350, at *5 (D.D.C. Mar. 31, 2020).

As set forth in the Crown Prince’s Motion to Dismiss, and adopted and incorporated by reference

here, the weight of authority is in favor of following State Department policy rather than the

Restatement (Second). See Crown Prince Mot. to Dismiss, pp. 31-32. Under either standard, however,

the Defendants are entitled to conduct-based immunity and the Complaint against them should be

dismissed.

                A.       The Defendants are entitled to conduct-based immunity under the State Department’s
                         established policy because they are each an official of a foreign state allegedly performing acts
                         in his official capacity.

        Under the established policy of the State Department, “acts of defendant foreign officials who

are sued for exercising the powers of their office are treated as acts taken in an official capacity.” Ltr.

from Harold Hongju Koh, Legal Adviser, U.S. Dep’t of State, to Stuart F. Delery, Principal Dep. Ass’t

Att’y Gen., Civil Div., U.S. Dep’t of Justice, at 2 (Dec. 17, 2012) (“Ragsdale Ltr.”), docketed at Ragsdale

v. Lashkar-E-Taiba, No. 1:11-cv-03893-DLI-CLP, ECF No. 19-1 (E.D.N.Y.). The Executive Branch



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has made clear that it “does not recognize any exception to a foreign official’s immunity for civil suits

alleging jus cogens violations.” See Br. for the United States of America as Amicus Curiae in Support of Affirmance

at 4, Mahar v. Dichter, No. 07-2579-cv (2d Cir. Dec. 19, 2007), 2007 WL 6931924 (brief signed by the

Legal Adviser of the State Department).

        At the time of the alleged tortious conduct, each of the Defendants is alleged to have held a

position in the Saudi government. See Compl. at ¶¶44-50 (Mr. Alqahtani was a top aide to the Crown

Prince.); id. at ¶51 (Mr. Alassiri was Deputy Intelligence Chief for Saudi Arabia’s principal intelligence

agency, the General Intelligence Presidency); id. at ¶77 (Mr. Alsayed was a forensic DNA expert who

worked for the General Department of Criminal Evidence in the Ministry of Interior and held a senior

rank of lieutenant colonel); id. at ¶78 (Mr. Algasem was a forensic DNA expert who worked for the

General Department of Criminal Evidence in the Ministry of Interior); id. at ¶79 (Mr. Alsaleh was a

military intelligence officer in the Intelligence Department of the Ministry of Defense); Id. at ¶80 (Mr.

Alhaqbani was employed by the Ministry of Interior in Saudi Arabia); id. at ¶81 (Mr. Alhomid was

employed by the Ministry of Foreign Affairs in Saudi Arabia who held a diplomatic passport).

        Each of these positions plainly satisfies the initial inquiry in the conduct-based immunity

analysis. See Samantar v. Yousuf, 560 U.S. 305, 321 (2010) (high ranking government official in Somalia);

Belhas v. Ya’alon, 515 F.3d 1279, 1282 (D.C. Cir. 2008) (former head of Israeli Army Intelligence);

Miango, 2020 U.S. Dist. LEXIS 113722 (Democratic Republic of Congo security forces); Buratai, 318

F. Supp. 3d at 231 (members of the government, military, and police); Weiming Chen v. Ying-Jeou Ma,

2013 U.S. Dist. LEXIS 118668, at *2 (S.D.N.Y. Aug. 19, 2013)(Chief of the Bureau of Civil Affairs of

the Government of Kinmen County); Smith v. Ghana Commer. Bank, Ltd., No. 10-4655 (DWF/JJK),

2012 U.S. Dist. LEXIS 99735, at *31-32 (D. Minn. June 18, 2012) (the Attorney General of the

Republic of Ghana).




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        When examining a foreign public official’s qualification for immunity, the level of office the

public official holds does not bear on the analysis. See Doe v. Buratai, 318 F. Supp. 3d at 231 (“high-

level ‘decision-making authority is not . . . required’ for immunity and ‘past case law has not focused

on the degree of an official’s’ ‘authority’ to act on behalf of the foreign state’ because ‘conduct-based

immunity may extend to an ‘agent’ of a foreign state.”) (citing Rishikof v. Mortada, 70 F. Supp. 3d 8, 13

(D.D.C. 2014); Samantar v. Yousuf, 560 U.S. at 321); see also Richardson v. Attorney General of the British

Virgin Islands, 2013 U.S. Dist. LEXIS 117763, 2013 WL 4494975 (D.V.I. Aug. 20, 2013)(customs

officer involved a motor vehicle negligence action against was entitled to common law immunity

because the “alleged actions which [gave] rise to the [Plaintiffs’] complaint were undertaken within the

scope of his duty and thus fit neatly within the general contours of official-act immunity.”).

        In Rishikof v. Mortada, the plaintiff argued that the defendant’s status “as a low-level

deliveryman [] renders him ineligible to invoke ‘foreign official immunity’” under the common law.

See 70 F. Supp. 3d at 12-15. This Court rejected that argument, finding that “it is more in keeping

with the common law to conclude that decision-making authority is not a required element.” Id.

        The Court held:

        past case law has not focused on the degree of an official’s ‘authority’ to act on behalf
        of the foreign state. Rather, it has been the act itself and whether the act was
        performed on behalf of the foreign state and thus attributable to the state that has
        been the focus of the courts’ holdings. The rank of the agent who performed the act
        was not the determining factor.

Id. (citing Bashe Abdi Yousuf v. Mohamed Ali Samantar, 699 F.3d 763, 774 (4th Cir. 2012) (conduct-based

immunity “stands on the foreign official’s actions, not his or her status”); see also Bashe Abdi Yousuf v.

Mohamed Ali Samantar, 699 F.3d at 774 (“numerous domestic courts [have] embraced the notion,

stemming from international law, that the “immunity of a foreign state ... extends to ... any ... public

minister, official, or agent of the state with respect to acts performed in his official capacity”); Matar




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v. Dichter, 563 F.3d at 9 (“An immunity based on acts—rather than status—does not depend on tenure

in office.”).

        Having established that the Defendants are foreign officials, the second determination is

whether they were allegedly performing acts in their officials capacities. In Doe v. Buratai, 318 F. Supp.

3d at 231, this Court dismissed a case against officials of the Nigerian government, military, and police

who allegedly brutally tortured and killed peaceful protesters. In addition to lacking personal

jurisdiction over the defendants, this Court held that the defendants were immune from suit through

sovereign immunity. The Court explained that “… all of the defendants were Nigerian public

ministers, officials, or agents when they allegedly violated the Torture Victims Protection Act: as

alleged in the complaint, they were Nigerian governors, the Director General of the Nigerian State

Security Service, members of the Nigerian army ranging from the Chief of Staff to unit commanders,

and members of the Nigerian police ranging from the Inspector General to state commissioners and

superintendents.” Id. (internal citations omitted). The Court found that the defendants were acting

in their official capacities, “although the plaintiffs take great pains to emphasize that they are suing the

defendants in the defendants’ personal or ‘individual capacities alone,’ the allegations show otherwise.”

Id. (internal citations omitted). The Court explained, “suits against officers in their personal capacities

must pertain to private action[s],—that is, to actions that exceed the scope of authority vested in that

official so that the official cannot be said to have acted on behalf of the state.” Id. (citations omitted).

By contrast, the Court found, “the defendants’ alleged actions were part of their official duties within

the Nigerian government, military, and police.” Id.

        According to the complaint in Doe v. Buratai, “the defendants ‘directed the Armed Forces, the

Police Command, [State Security Service], and militia force paramilitary troops to use lethal force.’

The defendants all ‘exercised effective command and operational control’ over the Nigerian military

and police forces and the State Security Service or ‘exercised command authority and control over the



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perpetrators’ of the attacks.” Id. (internal citations omitted). Thus, the Court held, “These allegations

do not describe private actions. Rather, as alleged by the complaint, the defendants acted within the

structure of the Nigerian government and military, drawing on official powers and duties and relying

on the governmental and military chains-of-command—i.e., within their official capacities.” Id. (citing

Matar v. Dichter, 563 F.3d at 14 (“the common law of foreign sovereign immunity recognized an

individual official’s entitlement to immunity for ‘acts performed in his official capacity,’” and stating

that a “plaintiff’s concession that defendant was ‘at all relevant times an employee and agent of the

defendant Spanish Government’ sufficed to dispose of the claim against the individual defendant.”));

see also In re Terrorist Attacks on Sept. 11, 2001, 122 F. Supp. 3d 181, 187-89 (S.D.N.Y. 2015) (granting

foreign-official immunity because “[t]he only non-conclusory allegation, regarding [defendant’s

conduct], is an action taken in his official—not his personal—capacity”).

        The Complaint here repeatedly refers to the official channels of authority and direction. See,

e.g., Compl. at ¶3 (Mohammed bin Salman al Saud is the Crown Prince of the Kingdom of Saudi

Arabia); id. at ¶239; 260 (“The acts described herein were carried out under actual or apparent authority

or color of law of the government of Saudi Arabia.”); id. at ¶204 (“Because the members of the Tiger

Squad had separate chains of command in their disparate official Saudi government positions, only

Defendant bin Salman would have had the authority to assemble such an interagency team.”); Id. at

¶251 (“Defendants bin Salman, Alqahtani, Alassiri, and Alasaker had the legal authority and practical

ability to exert control over their subordinates, including the Tiger Squad Defendants…On

information and belief, the attempted extrajudicial killing was committed pursuant to the authority of

Defendants bin Salman, Alqahtani, Alassiri, and Alasaker”); id. at ¶72 (Messrs. Alhomid, Alsayed,

Alhaqbani, and Algasem, who allegedly were members of the “Tiger Squad” and in that capacity

traveled to Canada, and Mr. Alsaleh who, despite the lack of any specific factual allegations, is alleged

to have been a coordinator or leader of the “Tiger Squad,” allegedly performed their actions under



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the direction and supervision of Defendant bin Salman, Defendant Alqahtani, and Defendant

Alassiri); id. at ¶247 ( “…the Tiger Squad Defendants each provided substantial assistance by carrying

out the orders of their superiors”).

        The allegations that the Defendants either exercised command and operational control or were

operating under such control, establish that each was acting in their official capacity. Doe v. Buratai,

318 F. Supp. at 231; see also Miango, 2020 U.S. Dist. LEXIS 113722, at *5; Oussama El Omari v. Ras Al

Khaimah Free Trade Zone Auth., 2017 U.S. Dist. LEXIS 136172, at *31-32 (S.D.N.Y. Aug. 17,

2017)(despite the United States’ criticism of the UAE for arbitrary arrests, a lack of judicial

independence, and other rule of law and human rights problems, “[t]aken as true, these allegations

demonstrate that Sheikh Saud’s actions causing El Omari’s detention were undertaken through RAK

official channels and on behalf of the RAK, presumptively in furtherance of its enforcement of its

laws,” therefore they are official acts and he is entitled to immunity); Weisskopf v. Neeman, No. 11-cv-

665-wmc, 2013 U.S. Dist. LEXIS 201309, at *21 n.14 (W.D. Wis. Mar. 20, 2013) (finding foreign

conduct-based sovereign immunity for decisions made by foreign officials through the enforcement

of state family law); Moriah, 107 F. Supp. 3d at 278 (“Ciechanover acted as an agent of the Israeli

government for this specific task. He was contacted by the National Security Advisor, a high-ranking

official in the Prime Minister’s office, and asked to undertake a task. He performed that task and then

reported back. He did not undertake this task in his capacity as a private individual—he performed it

solely because the National Security Advisor made a request. As such, he acted as an agent of the

Israeli government.”).

        None of the Defendants is alleged to have taken rogue action. Rather, each is alleged to have

acted only in their official capacities, as officials or employees of the government of Saudi Arabia. See

Compl. at ¶ 239 (“The acts described herein were carried out under actual or apparent authority or




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color of law of the government of Saudi Arabia.”). Therefore, they are entitled to conduct based

sovereign immunity.

                B.       Exercising jurisdiction would have the effect of enforcing a rule of law against the foreign state
                         and therefore the Defendants are entitled to immunity under the Restatement (Second).

        Although the Court need not reach this inquiry under the correct standard of sovereign

immunity based on the State Department’s established policy, see Crown Prince’s Mot. to Dismiss, pp.

31-32, the Defendants nevertheless also satisfy the third prong under the Restatement (Second). A

judgment against the Defendants in the case would have the practical effect of enforcing a rule of law

against the Kingdom. See Ivey v. Lynch, No. 1:17CV439, 2018 U.S. Dist. LEXIS 133656, at *20-21

(M.D.N.C. Aug. 8, 2018)(applying conduct-based immunity: because Lynch was an agent in the United

States acting at the direction of a German government official performing delegated official functions,

“denying Lynch immunity and ultimately determining the merits of the claims against him would have

the effect of enforcing a rule of law against Germany.”); Ghana Commer. Bank, Ltd., 2012 U.S. Dist.

LEXIS 99735, at *31-32 (“Plaintiff’s allegations against Ghana’s Attorney General render the Republic

of Ghana the real party in interest here and show that Plaintiff seeks to hold the Attorney General

liable for acts performed in his official capacity.”).

        The court in Dogan v. Barak, 932 F.3d at 894, highlighted language from the complaint in that

case that was almost identical to that used here: “The Complaint’s claims for relief state—several

times—that Barak’s actions were done under ‘actual or apparent authority, or color of law, of the

Israeli Ministry of Defense and the Government of the State of Israel.’” Compare with Compl. at ¶¶

239; 260 (“Defendants’ acts were committed under actual or apparent authority, or color of law, of

the government of Saudi Arabia”). Based on these allegations, the Ninth Circuit concluded that the

defendants were entitled to conduct-based foreign official immunity. See id. (“We conclude that

exercising jurisdiction over Barak in this case would be to enforce a rule of law against the sovereign




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state of Israel…. And that Barak [] therefore be entitled to common-law foreign sovereign

immunity….”).

        The Complaint alleges that the conduct at issue in the Complaint was purportedly part of a

broader attempt to “consolidate [the Crown Prince’s] grip on power within Saudi Arabia.” See ¶108,

184. The news articles cited in the Complaint refer to an alleged internal struggle among Saudi Arabia’s

rulers. See supra p. 12-13. This Court should not interfere in an alleged foreign political power struggle

that plainly has diplomatic ramifications for this country and “the precarious state of U.S.-Middle East

relations.” Dogan v. Barak, No. 2:15-cv-08130-ODW(GSJx), 2016 U.S. Dist. LEXIS 142055, at *28

(C.D. Cal. Oct. 13, 2016) aff’d, 932 F.3d 888. Further, as the Crown Prince notes in his Motion to

Dismiss, a ruling against the defendants would “force [Saudi Arabia] to take specific action,” Lewis v.

Mutond, 918 F.3d 142, 147 (2019) – namely, to cease its criminal investigation of Aljabri’s wrongdoing,

even though “an executive decision to conduct a criminal investigation . . . ranks ‘[f]oremost among

the prerogatives of sovereignty.’” Nnaka v. Fed. Republic of Nigeria, 756 F. App’x 16, 18 (D.C. Cir. 2019)

(quoting Heath v. Alabama, 474 U.S. 82, 93 (1985)).6

III.    The Act of State Doctrine precludes the Court from inquiring into the validity of public
        acts taken by a recognized foreign sovereign within its own territory.

        The Defendants adopt, and incorporate by reference, the legal standards and the arguments

presented in the Crown Prince’s Motion to Dismiss that if the Court adjudicates Aljabri’s claims, it




6
   In a concurring opinion in Lewis v. Mutond, Judge Randolph suggested that the TVPA abrogates
conduct-based immunity. See Lewis, 918 F.3d at 150. The reasoning turned on the existence of a
“clear conflict” between the TVPA (which explicitly provided for liability for torture) and common
law immunity (which immunized against liability for torture). There is no clear conflict, however, with
respect to immunity for attempted extrajudicial killing, because the TVPA does not by its terms create
liability for attempted extrajudicial killing. Congress is presumed to retain established common law
principles unless a statute explicitly says otherwise. See, e.g., Baker Botts LLP v. ASARCO LLC, 576
U.S. 121, 126 (2015). Therefore, to the extent that the TVPA abrogates common law conduct-based
immunity, the abrogation extends only to the causes of action Congress chose to reference in the text
of the TVPA, which does not include a cause of action for attempted extrajudicial killing.


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would inevitably have to rule on the legality of certain alleged official acts that the Kingdom undertook

within its own territory, thereby violating the Act of State Doctrine. See Crown Prince Mot. to Dismiss,

pp. 44-48.

IV.     Saudi Arabia is a necessary and indispensable party that is immune from suit.

        The Defendants adopt, and incorporate by reference, the arguments in the Crown Prince’s

Motion to Dismiss that Saudi Arabia is a necessary and indispensable party whose joinder is not

possible, and, therefore, the case must be dismissed. See Crown Prince Mot. to Dismiss, pp. 38-44.

V.      If the Court were to find it has personal and subject matter jurisdiction, the Complaint
        should be dismissed under Rule 12(b)(6) because it fails to state a claim.

        The Defendants adopt, and incorporate by reference, the legal standards and arguments in the

Crown Prince’s Motion to Dismiss that Aljabri fails to state a claim under statutory or common law.

See Crown Prince Mot. to Dismiss, pp. 48-69.

                A. The claims are not pled with sufficient specificity plausibly to state a claim.

        “[T]hreadbare recital[] of the elements of a cause of action, supported by mere conclusory

allegations [] will not suffice to state a claim.” Tolton v. Day, Civil Action No. 19-945 (RDM), 2020

U.S. Dist. LEXIS 87793, at *105 (D.D.C. May 19, 2020)(internal quotations omitted).                    This

fundamental rule applies to each of the federal causes of action that the Complaint attempts to plead.

        To plead a TVPA claim, a plaintiff must allege with specificity that the defendant,
        while under actual or apparent authority and/or color of law of a foreign nation,
        committed extrajudicial killing or torture. . . . A plaintiff’s failure to plead any of the
        elements of a TVPA claim results in a failure to state a claim upon which relief can be
        granted.

Jaramillo v. Naranjo, No. 10-21951-CIV, 2014 U.S. Dist. LEXIS 138887, at *23-25 (S.D. Fla. Sep. 30,

2014); see also Beanal v. Freeport-McMoran, Inc., 197 F.3d 161, 169 (5th Cir. 1999)(“Because we find that

Beanal fails to state with the requisite specificity and definiteness his claims of individual human rights

violations under the ATS, we find that his allegations under the TVPA also suffer from the same

pleading defects. Beanal fails to provide sufficient underlying facts to support his claims.”); Sinaltrainal


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v. Coca-Cola Co., 578 F.3d 1252, 1266-70 (11th Cir. 2009) (applying Iqbal’s pleading standard to claims

brought under the Alien Tort Statute and Torture Victim Protection Act) abrogated on other grounds by

Mohamad v. Palestinian Authority, 566 U.S. 449 (2012).

        As Defendant Alasaker notes in his Motion to Dismiss, the inquiries under the Torture Victim

Protection Act— under the common law—and the Alien Tort Statute— under international law—

“overlap.” See Ofisi, 2018 WL 396234, at *4 n.7. Because the common law and international law are

not meaningfully different, the D.C. Circuit has held that the common-law standard may be applied

to both claims. See Doe v. Exxon Mobil Corp., 654 F.3d 11, 39 (D.C. Cir. 2011), vacated, 527 F. App’x

7 (D.C. Cir. 2013).

        To plead conspiracy liability, a plaintiff must allege with specificity: “(1) an agreement between

two or more persons; (2) to participate in an unlawful act, or a lawful act in an unlawful manner; (3)

an injury caused by an unlawful overt act performed by one of the parties to the agreement; (4) which

overt act was done pursuant to and in furtherance of the common scheme.” Halberstam v. Welch, 705

F.2d 472, 477 (D.C. Cir. 1983); see also Cabello v. Fernandez-Larios, 402 F.3d 1148, 1159 (11th Cir. 2005)

(applying Halberstam to Alien Tort Statute claim).

        Aiding and abetting liability “includes the following elements: (1) the party whom the

defendant aids must perform a wrongful act that causes an injury; (2) the defendant must be generally

aware of his role as part of an overall illegal or tortious activity at the time that he provides the

assistance; [and] (3) the defendant must knowingly and substantially assist the principal violation.”

Halberstam v. Welch, 705 F.2d at 477.

        To plead liability under an agency theory, as discussed supra Section I(B)(1), the plaintiff must

allege a relationship in “the principal ‘has the right to control the conduct of the agent with respect to

matters entrusted to him.’” Carswell v. Air Line Pilots Ass’n Int’l, 540 F.Supp.2d at 122 (quoting

Restatement (Second) of Agency § 14 (1958)); see also Restatement (Third) of Agency § 1.01 (2006) (an



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agency relationship “arises when [a principal] manifests assent to [an agent] that the agent shall act on

the principal's behalf and subject to the principal's control”).

                        1.      The allegations against Messrs. Alassiri, Alqahtani, and Alsaleh are
                                purely conclusory and therefore fail to state a claim.

                                i.       Messrs. Alassiri and Alqahtani

        The Complaint alleges that Messrs. Alassiri and Alqahtani “personally committed” the

attempted extrajudicial killing. Compl. at ¶ 257. This claim is not supported by even the barest of

conclusory statements in the preceding 100 pages. There is no allegation Messrs. Alassiri or Alqahtani

traveled to Canada, much less that they personally attempted to kill him. Rather the Complaint appears

to rely on secondary liability. It alleges that Messrs. Alassiri and Alqahtani “played a supervisory role”

in the attempted extrajudicial killing of Aljabri and were “involved in overseeing” the members of the

“Tiger Squad” who traveled to Canada. Id. at ¶52. It repeats the words, “planned, oversaw, and

coordinated” and states that after Messrs. Alassiri and Alqahtani “coordinated the tracking of Dr.

Saad” they “dispatched” the Tiger Squad. None of these conclusions, however, is supported by any

factual allegations about what Messrs. Alassiri and Alqahtani did to plan, oversee, or coordinate. 7

        Further, the Complaint, which purports to proceed in part on conspiracy liability, does not

offer even conclusory allegations that Messrs. Alassiri and Alqahtani formed an agreement with any of

the other defendants. In fact, the Complaint does not make any factual allegation that Messrs. Alassiri

and Alqahtani even knew the defendants alleged to have traveled to Canada, let alone that they formed

an agreement with them to participate in a scheme to attempt to kill Aljabri.




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  The Complaint also inserts references to the “U.S. Based Covert Agents” in the paragraphs stating
the causes of actions. As explained, supra, Background (citing ¶¶14, 59), however, there are no factual
allegations that could support the conclusion that Messrs. Alassiri and Alqahtani coordinated “U.S.
Based covert agents”.


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        Similarly, the Complaint fails to allege a claim based on aiding and abetting liability. As

discussed in more detail infra Section VIII, there is no principal tortfeasor who allegedly caused injury.

Moreover, there are no facts alleged to support a claim that Messrs. Alassiri and Alqahtani knew about

the purported mission of the “Tiger Squad” to attempt to kill Aljabri, much less facts that, if true,

would plausibly demonstrate Messrs. Alassiri and Alqahtani took any step to assist in such a scheme.

        Finally, the Complaint fails to state a claim based on an agency theory. The Complaint does

not allege facts that, if true, would plausibly demonstrate Messrs. Alassiri and Alqahtani had the

authority to control members of the so called “Tiger Squad.” Indeed, it does not even allege that

Messrs. Alassiri and Alqahtani, on the one hand, and the defendants alleged to be members of the

“Tiger Squad,” on the other hand, knew each other or knew of each another.

        With respect to Mr. Alqahtani, the Complaint adds factual allegations that are wholly irrelevant

to its conclusory allegation that he supervised the “Tiger Squad” in its supposed effort to kill Aljabri

in Canada. For example, the Complaint alleges that Mr. Alqahtani engaged two D.C. lobbying firms

in 2016, but fails to allege, let alone plausibly allege, that the retention of lobbying firms in 2016 relate

to the alleged attempted extrajudicial killing of Aljabri in 2018. Additionally, the Complaint alleges

that Mr. Alqahtani tweeted that he acts at the behest of the Saudi government. The Complaint then

offers rank speculation that “presumably” this includes with respect to extrajudicial killings (see Compl.

at ¶48) – an implicit acknowledgment that there is no factual basis to conclude there is a connection

between this tweet and the tort the Complaint alleges was committed well after the tweet was posted.

                                 ii.     Mr. Alsaleh

        Calling the Complaint “threadbare” as it relates to Mr. Alsaleh would be generous. In fact, it

is unclear even under what theory Aljabri purports to hold Mr. Alsaleh liable. The Complaint alleges:

“The Tiger Squad’s activities are directed and supervised by Defendant bin Salman, Defendant

Alqahtani, and Defendant Alassiri, and supported by Defendant Alasaker,” without mentioning Mr.



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Alsaleh at all. Compl. at ¶ 72. A few paragraphs later, however, the Complaint alleges that Mr. Alsaleh

was not only a member of the “Tiger Squad,” but also a “coordinator or leader” of the “Tiger Squad

Defendants.” Id. at ¶ 79. Yet, unlike the other defendants the Complaint alleges were members of

the “Tiger Squad,” the Complaint does not allege that Mr. Alsaleh traveled to Canada in an attempt

to kill Aljabri. Compare id. at ¶ 79 with ¶¶ 77-78; 80-81 (alleging “[o]n information and belief,”

Defendants Alsayed, Algasem, Alhaqbani, and Alhomid “traveled to Canada in October 2018 in an

attempt to kill Dr. Saad.”).

        Mr. Alsaleh’s name is mentioned in only two of the 278 paragraphs of the Complaint:

Paragraph 79, which alleges in conclusory fashion that he was a member and coordinator or leader of

the “Tiger Squad” and notes that he attended an unrelated program for senior military officers in

Singapore in 2019, and in passing in Paragraph 82, which makes no additional factual allegations about

Mr. Alsaleh at all. Thus, the Complaint neither alleges facts about Mr. Alsaleh’s supposed coordination

or leadership of the “Tiger Squad” or facts about Mr. Alsaleh’s supposed role as a member of the

“Tiger Squad.” No facts are alleged that would, if true, plausibly establish Mr. Alsaleh’s liability –

under any theory – in the plot the Complaint alleges.

        Because the allegations against Messrs. Alassiri, Alqahtani, and Alsaleh are merely conclusory,

without a single factual allegation connecting them to the purported attempted extrajudicial killing,

the Complaint must be dismissed.

                        2.     The allegations against Messrs. Alsayed, Alhomid, Alhaqbani, and
                               Algasem are purely conclusory and therefore fail to state a claim.

        The Complaint alleges that Messrs. Alsayed, Alhomid, Alhaqbani, and Algasem traveled to

Canada “in an attempt to kill Dr. Saad” and “with the express purpose of murdering Dr. Saad.” see

Compl. at ¶77-78, 80-81, and 262. This alleged “attempt,” or “express purpose,” however, is purely

speculative. The Complaint fails to make factual allegations that, if true, would plausibly support the

conclusion the Complaint offers as to the purpose of the travel to Canada. The Complaint merely


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alleges that upon arriving in Canada, Messrs. Alsayed, Alhomid, Alhaqbani, and Algasem were

traveling on tourist visas, were not forthcoming about knowing one another, and summoned an

Embassy attorney, who was “overheard” instructing them to falsely claim they were going to a VIP

delegation. Finally, the Complaint also alleges that Messrs. Alsayed and. Algasem are forensic

scientists and had unspecified “forensic tools” with them. See Id. at ¶¶16, 231.8

       Messrs. Alsayed, Alhaqbani, and Algasem allegedly were prohibited from entering Canada.

Mr. Alhomid, who had a diplomatic passport, was permitted to enter Canada, but the Complaint does

not allege undertook any action in Canada in furtherance of the supposed plot to kill Aljabri.

       There are no facts alleged that could support the conclusion that any of these individuals even

knew who Aljabri was, much less that they were trying to kill him. The Complaint, which does not

explain what “forensic tools” forensic scientists had with them while traveling or why the possession

of these unidentified forensic tools is any way remarkable, does not allege that any of the Defendants

had any sort of weapon or that they made any efforts to procure any; nor does the Complaint allege

any facts regarding when, where, or how the supposed extrajudicial killing was to occur. The

Complaint is likewise devoid of any factual allegations that, if true, would plausibly support the

conclusion that they were directed by any of the other defendants to go to Canada to kill Aljabri.




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   The Complaint also resorts to a transparent and strained effort at guilt by association by alleging
that “Defendant Alsayed served on the academic panel alongside Dr. Salah Mohammed Tubaigy, who
used a bone saw to dismember Khashoggi.” Id. at ¶77. This allegation does not plausibly suggest that
Mr. Alsayed was involved in a plot against Khashoggi, much less does it in any way support an
allegation that he was involved in a plot to kill Aljabri. Further, with respect only to the third cause
of action, intentionally inflection of emotional distress, the Complaint also alleges that “Defendants,”
without identifying which ones, “travel[ed] to Canada with the materials necessary to clean up the
crime,” without alleging what the “materials” were and again without tying the supposed possession
of the unnamed cleaning “materials” to a plot to kill Aljabri. See id. at ¶275.


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                B.      The Torture Victim Protection Act claim (the first cause of action) fails to state a claim as
                        a matter of law.

         The Defendants adopt, and incorporate by reference, the legal standard and arguments set

forth in the Crown Prince’s Motion to Dismiss that Aljabri’s TVPA claim is legally deficient because

the Complaint fails to allege an “extrajudicial killing” and because Aljabri has not exhausted the

adequate remedies available to him in Canada or Saudi Arabia. See Crown Prince Mot. to Dismiss, pp.

48-54.

                C.      The Alien Tort Statute claim (the second cause of action) fails to state a claim as a matter
                        of law.

         The Defendants adopt, and incorporate by reference, the legal standard and arguments set

forth in the Crown Prince’s Motion to Dismiss that Aljabri’s ATS claim fails as a matter of law because

an inchoate effort to carry out an extrajudicial killing does not violate universal and obligatory

international norms as required under the ATS, and because Aljabri fails to allege any conduct in the

United States regulated by the ATS. See Crown Prince Mot. to Dismiss, pp. 54-61.

                D.      The first and second cases of action also fail to state a claim because secondary liability for
                        an attempted tort is not a viable claim as a matter of law.

         The theory of liability against Messrs. Algasam, Alsayed, Alhaqbani, and Alhomid is that they

attempted to kill Aljabri and the theory of liability against Messrs. Alqahtani, Alassiri, and Alsaleh is

that they conspired with, aided and abetted, or had an agency relationship with Messrs. Algasam,

Alsayed, Alhaqbani, and Alhomid in that attempted murder. As explained in parts VI and VII, supra,

this attempted extrajudicial killing does not violate the TVPA or the ATS. The allegations against

Messrs. Algasam, Alsayed, Alhaqbani, and Alhomid that they attempted to kill Aljabri, but abandoned

the effort without harming him, fails to state a claim against them because such an entirely “inchoate

tort” caused no cognizable damages to Aljabri. Even if this Court finds that the claims against Messrs.

Algasam, Alsayed, Alhaqbani, and Alhomid for an abandoned attempted murder can survive a motion

to dismiss, however, the secondary liability claims against Messrs. Alqahtani, Alassiri, and Alsaleh, that


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they conspired, aided and abetted, or had an agency relationship with regard to the attempt must be

dismissed because secondary liability cannot be premised on an attempt.

                         1.       The first and second causes of action fail to state claims against Messrs.
                                  Algasam, Alsayed, Alhaqbani, and Alhomid by alleging an entirely
                                  inchoate, abandoned attempt to commit murder.

        An attempted tort is, at best, a dubious concept. See United States v. Gladish, 536 F.3d 646, 648

(7th Cir. 2008) (“In tort law, unsuccessful attempts do not give rise to liability. If you plan to shoot a

person but at the last minute change your mind (and you had not threatened him, which might be

actionable), you have not committed a tort.”); Boim v. Holy Land Found. for Relief & Dev., 549 F.3d 685,

692 (7th Cir. 2008)(“The law of attempt has no counterpart in tort law because there is no tort without

an injury.”) (citing United States v. Gladish, 536 F.3d at 648); Cenco, Inc. v. Seidman & Seidman, 686 F.2d

449, 453 (7th Cir. 1982)(“Tort law, unlike criminal law, does not punish ‘inchoate,’ which is to say

purely preparatory, conduct; for wrongdoing to be actionable as a tort there must be an injury…[B]y

their nature involve concerted activity, there is no basis in common law thinking for a tort of

conspiracy to commit a tort. If there is a conspiracy and it fails, there is no injury and hence no tort

liability; if it succeeds, the damages are fully recoverable in an action on the underlying tort. See

Prosser, Handbook of the Law of Torts 293 (4th ed. 1971); see also Halverson v. Univ. of Utah Sch. of Med.,

No. 2:06CV228 DAK, 2007 U.S. Dist. LEXIS 72974, at *46 (D. Utah Sep. 28, 2007) (“This Cause of

Action fails to state a claim because no constitutional violation is pled. Plaintiff alleges that the

Individual Defendants conspired to attempt to force the Plaintiff’s resignation from the residency

program to prevent her from having access to due process and/or the grievance policies provided by

the University…. The alleged conspiracy was unsuccessful…Because there was no actual deprivation

of rights, this fails to state a claim for relief.” (citing Dixon v. City of Lawton, Okla., 898 F.2d 1443, 1449

(10th Cir.1990)).




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        Here, the Complaint alleges that Messrs. Algasam, Alsayed, Alhaqbani, and Alhomid came to

Canada with the intent to kill Aljabri, but three of them were stopped at the airport and they never

came close to accomplishing that objective. There is no allegation that they assaulted Aljabri, got

anywhere near him, or communicated with him. In other words, there is no allegation that could

plausibly support any finding of damages suffered by Aljabri as a result of the conduct allegedly

undertaken by Messrs. Algasam, Alsayed, Alhaqbani, and Alhomid. Therefore, the TVPA and ATS

claims against them must be dismissed.

                        2.       The first and second causes of action fail to state a claim for the
                                 secondary liability of Messrs. Alqahtani, Alassiri, and Alsaleh based on
                                 their alleged aiding and abetting or conspiring with Messrs. Algasam,
                                 Alsayed, Alhaqbani, and Alhomid in their alleged attempt

        An attempted tort – even if that concept is actionable – is distinct from the actual commission

of a tort. For secondary liability, such as aiding and abetting, agency, or conspiracy, to attach, a primary

tortfeasor must have committed a substantive underlying tort, not merely an attempted tort. See Malden

Transp., Inc. v. Uber Techs., Inc., 404 F. Supp. 3d 404, 426 (D. Mass. 2019) (“The second kind of

conspiracy, which plaintiffs have asserted in their claim of aiding and abetting, requires proof of an

underlying tort.”) (citing Taylor v. Am. Chemistry Council, 576 F.3d 16, 35 (1st Cir. 2009)); Pimal Prop. v.

Capital Ins. Grp., Inc., No. CV11-02323-PHX-DGC, 2012 U.S. Dist. LEXIS 24172, at *14 (D. Ariz.

Feb. 27, 2012) (“Claims of aiding and abetting tortious conduct require proof of three elements: (1)

the primary tortfeasor must commit a tort that causes injury to the plaintiff; (2) the defendant must

know that the primary tortfeasor’s conduct constitutes a breach of duty; and (3) the defendant must

substantially assist or encourage the primary tortfeasor in the achievement of the breach”); Jenkins v.

Wachovia Bank, Nat’l Ass’n, 309 Ga. App. 562 (2011) (“Absent the underlying tort, there can be no

liability for civil conspiracy.”); Stutts v. De Dietrich Grp., No. 03-CV-4058 (ILG), 2006 U.S. Dist. LEXIS

47638, at *47 (E.D.N.Y. June 30, 2006) (“The required elements of a cause of action for aiding and

abetting a tortfeasor under New York or federal common law are: ‘(1) the existence of a violation by


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the primary wrongdoer; (2) knowledge of this violation on the part of the aider and abettor; (3)

substantial assistance by the aider and abettor in the achievement of the primary violation.’”); In re Ross

Sys. Sec. Litig., No. C-94-0017-DLJ, 1994 U.S. Dist. LEXIS 21263, at *12 (N.D. Cal. July 21,

1994)(“The crime of conspiracy may be inchoate, but there is no corollary inchoate tort of conspiracy.

In civil cases conspiracy is a theory of liability available only when a completed tort exists.”).

        In Acosta Orellana v. CropLife Int’l, 711 F. Supp. 2d 81, 106 (D.D.C. 2010), the plaintiffs alleged

secondary liability based on the legal principles of aiding and abetting, agency, and conspiracy. As this

Court explained: “In the District of Columbia, none of the three theories gives rise to an independent

cause of action; rather, liability under each is reliant upon derivative tortious activity and therefore

must be premised on some underlying tort.” Id. (citing Ali v. Mid-Atl. Settlement Servs., Inc., 640 F. Supp.

2d 1, 9 (D.D.C. 2009) (granting defendant summary judgment on conspiracy and aiding and abetting

claims upon dismissal of underlying tort of fraud); Burnett v. Al Baraka Inv. and Dev. Corp., 274 F. Supp.

2d 86, 105 (D.D.C. 2003) (“[l]iability for aiding and abetting, or for conspiracy, must be tied to a

substantive cause of action”)(emphasis added)). The Court in CropLife held that because the plaintiffs did

not state an actionable claim for the underlying tortious activity, the plaintiffs’ secondary liability

theories could not be maintained and dismissed the claim against those defendants. Id. .

        Likewise, Aljabri’s claims regarding a violation of TVPA and ATS contain no primary

tortfeasor who is actually alleged to have committed “a substantive cause of action.” See Burnett v. Al

Baraka Inv. and Dev. Corp., 274 F. Supp. at 105. The only alleged completed tort is the IIED claim

(which also fails to state a claim, see infra p. 36). The TVPA and ATS claims allege an aborted attempted

extrajudicial killing. They are not complete because there has been no killing. In fact, unlike other

attempted extrajudicial killing cases where there has been a viable claim of injury, there is no allegation

of physical contact whatsoever between Aljabri and any of the Defendants. See Gill v. Islamic Republic

of Iran, 249 F. Supp. 3d 88, 99 (D.D.C. 2017); Boniface v. Viliena, 338 F. Supp. 3d 50, 67-68 (D. Mass.



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2018); Warfaa v. Ali, 33 F. Supp. 3d 653, 666 (E.D. Va. 2014), aff’d, 811 F.3d 653 (4th Cir. 2016); Doe

v. Constant, 2006 U.S. Dist. LEXIS 101961, at *12 n.3 (S.D.N.Y. Oct. 24, 2006). Any injury Aljabri

allegedly suffered arises from his IIED claim, not an attempted killing. See Compl. ¶243 (“these overt

acts directly and proximately caused injury to Dr. Saad in the form of severe emotional stress and the

physical manifestations of that harm…”). Thus, the Complaint, in an effort to make a claim against

Messrs. Alassiri, Alqahtani, and Alsaleh, asserts secondary liability to an “inchoate tort.” Since, as

explained above, secondary liability requires a primary tortfeasor to commit a substantive tort, the

TVPS and ATS claims against Messrs. Alassiri, Alqahtani, and Alsaleh fail to state a claim.

                E.      The claims under the ATS and TVPA should be dismissed because secondary lability is
                        not cognizable under those statutes.

        The Defendants incorporate, and adopt by reference, the legal standard and arguments set

forth in Defendant Alasaker’s Motion to Dismiss that secondary lability is not cognizable under the

ATS and TVPA. See Alasaker Mot. to Dismiss, pp. 25-27.

                F.      The claim for intentional infliction of emotional distress (the third cause of action) fails to
                        state a claim.

        The Defendants incorporate, and adopt by reference, the legal standard and arguments set

forth in the Crown Prince’s Motion to Dismiss that the Court should dismiss Aljabri’s common-law

claim for intentional infliction of emotional distress (IIED). See Crown Prince Mot. to Dismiss, pp.

61-69. This claim is not cognizable under Saudi Arabian law. See id. at 61-65. This claim also fails

under D.C. law because an attempt to commit bodily harm that results only in emotional distress is

not actionable as an IIED claim, and, to the extent the claim is based on the arrests of Aljabri’s adult

children, the claim fails because there is no allegation Aljabri was physically present when these arrests

occurred. See id. at 65-66. Further, if the Court dismisses the ATS and TVPA claims, the Court is

divested of personal jurisdiction over the Defendants. Fed. R. Civ. P. 4(k)(2) is available only for a

“claim that arises under federal law.” Alternatively, the Court should decline to exercise supplemental



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jurisdiction over Aljabri’s common-law claim for IIED. See Crown Prince’s Mot. to Dismiss, pp. 67-

69.

                                           CONCLUSION

        “Even under the most lenient interpretation, [] plaintiff's pleadings present a smorgasbord of

manifest, incurable jurisdictional defects, failing further to state even a facially-plausible claim upon

which relief can be granted.” Weisskopf, 2013 U.S. Dist. LEXIS 201309, at *2. The Complaint rests

on conclusory allegations and supposition to allege that Saudi nationals, who are officials or employees

of the Saudi government, at the behest of the Crown Prince and motivated by internal Saudi politics,

plotted in Saudi Arabia to kill a Saudi citizen in Canada. Even if this fanciful tale were supported by

factual allegations, this Court would lack personal jurisdiction over the Defendants. Further, even if

it had personal jurisdiction, the Court would lack subject matter jurisdiction over these claims. The

claims would be barred by the Act of State Doctrine. Further, the Complaint fails to join a necessary

party. In any event, the Complaint must be dismissed based on its failure to state a claim as matter of

law, or to allege facts that, if true, would plausibly demonstrate the existence of the plot the Complaint

imagines, much less that the Defendants participated in such a plot. For all of these reasons and the

additional reasons addressed above, the Complaint must be dismissed.




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                            Respectfully Submitted,



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                                 CERTIFICATE OF SERVICE

I hereby certify that on this 7th day of December, 2020, I filed the foregoing pleading through the
ECF system, which shall then send an electronic copy of this pleading to all parties in this action.



                                              _________/s/__________________
                                                    Jessica N. Carmichael




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